        Case 1:17-cv-00170-CWD Document 86-1 Filed 11/19/21 Page 1 of 3




LAWRENCE G. WASDEN
ATTORNEY GENERAL

STEVEN L. OLSEN, ISB #3586
DAYTON P. REED, ISB #10775
Deputy Attorneys General
954 W Jefferson, 2nd Floor
P.O. Box 83720
Boise, ID 83720-0010
Telephone:    (208) 334-2400
Facsimile:    (208) 854-8073
steven.olsen@ag.idaho.gov
dayton.reed@ag.idaho.gov

Attorneys for Defendants

                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

 F.V. and DANI MARTIN,
                                                    Case No. 1:17-cv-000170-CWD
                       Plaintiffs,
                                                    DECLARATION OF
 vs.                                                STEVEN L. OLSEN

 DAVID JEPPESEN, in his official capacity as
 Director of the Idaho Department of Health
 and Welfare and ELKE SHAW-TULLOCH,
 in her official capacity as Administrator of the
 Division of Public Health the Idaho
 Department of Health and Welfare, and
 JAMES AYDELOTTE, in his official capacity
 as State Registrar and Chief of the Bureau of
 Vital Records and Health Statistics,

                       Defendants.


       I, Steven L. Olsen, declare as follows:

       1.      I am a Deputy Attorney General for the State of Idaho and counsel for the State

Defendants in this proceeding.

       2.      Attached hereto as Exhibit A-1 in PDF format is a copy of the billing entries

Plaintiffs submitted in support of their fee petition which I have reviewed.    Based on the


DECLARATION OF STEVEN L. OLSEN – 1
        Case 1:17-cv-00170-CWD Document 86-1 Filed 11/19/21 Page 2 of 3




description of the billing entries, I have highlighted in red the time spent by Plaintiffs’ attorneys

and paralegals on Plaintiffs’ first motion to clarify [Dkt. 46].

       3.       Using the billing entries in Exhibit A-1, I tallied in the attached Exhibit A-2, the

hours spent by each attorney/paralegal and the related fees concerning Plaintiffs counsels’ work

on the first motion to clarify [Dkt. 46].

       4.       Attached hereto as Exhibit B-1 in PDF format is a copy of the billing entries

Plaintiffs submitted in support of their fee petition which I have reviewed.          Based on the

description of the billing entries, I have highlighted in red the time spent by Plaintiffs’ attorneys

and paralegals on Plaintiffs’ motion for attorney fees and expenses [Dkt. 83].

       5.       Using the billing entries in Exhibit B-1, I tallied in the attached Exhibit B-2 the

hours spent by each attorney/paralegal and related fees concerning Plaintiffs counsels’ work on

their request for legal fees.

       6.       Attached hereto as Exhibit C is a summary of Plaintiffs counsels’ adjusted hour and

rates for Plaintiffs’ fee petition (fees-on-fees).

       7.       Attached hereto as Exhibit D is a summary of Plaintiffs counsels’ adjusted hours

and rates for all post-judgment work.

        I, Steven L. Olsen, hereby declare under penalty of perjury under the laws of the United

States of America that the foregoing is true and correct.

        DATED this 19th day of November, 2021.

                                                By:     /s/ Steven L. Olsen
                                                      Steven L. Olsen




DECLARATION OF STEVEN L. OLSEN – 2
        Case 1:17-cv-00170-CWD Document 86-1 Filed 11/19/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 19th day of November, 2021, I electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF system which sent a Notice of

Electronic Filing to the following Persons:

 Monica G. Cockerille                          Colleen R. Smith
 monicacockerille@me.com                       csmith@cov.com

 Peter C. Renn                                 D. Jean Veta
 Prenn@lambdalegal.org                         jveta@cov.com

 Kara N. Ingelhart                             Henry Liu
 kingelhart@lambdalegal.com                    hliu@cov.com

 Nora Huppert                                  William Isasi
 nhuppert@lambdalegal.org                      wisasi@cov.com

 Attorneys for Plaintiffs F.V. and             Michael J. Lanosa
 Dani Martin                                   mlanosa@cov.com



                                                  By: /s/ Steven L. Olsen
                                                         STEVEN L. OLSEN




DECLARATION OF STEVEN L. OLSEN – 3
